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                    Exhibit A
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      .;/
ARTURO GUAJARDO, JR.
HIDALGO COUNTY CLERK
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PO BOX 58
EDINBURG, TX 78540-0058
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RETURN RECEIPT (ELECTRONIC)




CL-20-1230-B
COMMUNITY DEVELOPMENT INSTITUTE HEAD START
CORPORATION SERVICE COMPANY
D/B/A CSC - LAWYERS INCO
211 E 7TH STREET SUITE 620
AUSTIN, TX 78701




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                                                                                                         Zone 3




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                                          CAUSE NO. CL-20-1230-B
THE STATE OF TEXAS
COUNTY OF HIDALGO


 NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do
not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the
expiration of twenty (20) days after you were served this citation and petition, a default judgment may be taken
against you."

     To:    COMMUNITY DEVELOPMENT INSTITUTE HEAD START
            BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
            D/B/A CSC-LAWYERS INCO
            211 E. 7TH STREET, SUITE 620
            AUSTIN, TX 78701
            OR AT SUCH OTHER PLACE AS THE DEFENDANT MAY BE FOUND

GREETINGS: You are commanded to appear by filing a written answer to the Plaintiff's petition at or before 10
o'clock A.M. on or before the Monday next after the expiration of twenty (20) days after the date of service
hereof, before the Honorable County Court At Law #2 of Hidalgo County, Texas, by and through the Hidalgo
County Clerk at 100 N. Closner, First Floor, Edinburg, Texas 78539.

Said Plaintiff's Petition was filed in said Court, on the 3rd day of March, 2020 in this Cause Numbered CL-20-
1230-B on the docket of said Court, and styled,

                                    NARCISA TREVINO
                                          vs.
                       COMMUNITY DEVELOPMENT INSTITUTE HEAD START

The nature of Plaintiffs demand is fully shown by a true and correct copy of Plaintiff's Narcisa Trevino's
Original Petition accompanying this Citation and made a part hereof.

NAME & ADDRESS OF ATTORNEY FOR PLAINTIFF:
  CINDY A. GARCIA
  THE LAW OFFICE OF CINDY A GARCIA PC
  1113 NIGHTINGALE AVENUE
  MCALLEN TEXAS 78504


The officer executing this citation shall promptly serve the same according to requirements of law, and the
mandates hereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at Edinburg, Texas this 23rd day
of October, 2020.

                                                         ARTURO GUAJARDO, JR.
                                                         COUNTY CLERK, HIDALGO COUNTY, TEXAS
                                                         100 N. CLOSNER
                                                         EDINBURG, TEXAS 78539
                                                         COUNTY COURT AT LAW #2


                                                        BY                                              DEPUTY
                                                                         DANIEL4,ANCO
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SHERIFF'S/CONSTABLE'S/CIVIL PROCESS

SHERIFF'S RETURN
        Came to hand on the             day of                                , 20           , at              o'clock
M., by Deputy (Sheriff/Constable)/Civil Process Server and to-wit the following:

DEFENDANT SERVED

          Service was EXECUTED on the above referenced Defendant, in person, in Hidalgo County, Texas and served with
a true copy of this Citation, with the date of delivery endorsed thereon, together with the accompanying copy of the
Plaintiff's Petition, at the following
Date, time, and place, to-wit:

         NAME                               DATE                 TIME             PLACE


         By:                                                               By:
                   CIVIL PROCESS SERVER                                              DEPUTY SHERIFF/CONSTABLE

DEFENDANT NOT SERVED
          Service was ATTEMPTED at the above address on the above referenced Defendant on the following date(s) and
time(s), but to no avail:

         NAME                            DATE                  TIME                  PLACE

         NAME                            DATE                  TIME                  PLACE

         NAME                            DATE                  TIME                  PLACE


         By;                                                      By:
                   CIVIL PROCESS SERVER                                    DEPUTY SHERIFF/CONSTABLE


                           COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF,
                                        CONSTABLE OR CLERK OF THE COURT
In accordance to rule 107, the officer or authorized person who serves or attempts to serve a citation must sign the return. If
the return is signed by a person other than a sheriff, constable or the clerk of the court, the return must either be verified or be
signed under the penalty of perjury. A return signed under penalty of perjury must contain the statement below in
substantially the following form:

"My name is                                     , my date of birth is                        and my address is

                                           . I declare under penalty of perjury that the foregoing is true and correct

EXECUTED in                        County, state of Texas, on the       day of             , 20



DECLARANT


If Certified by the Supreme Court of Texas
Date of Expiration /SCH Number
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                                                         CL-20-1230-B
                                             CAUSE NO.

NARCISA TREVINO,                                                    IN THE COUNTY COURT
Plaintiff,

vs.
                                                                    AT LAW NO.
COMMUNITY DEVELOPMENT
INSTITUTE HEAD START
Defendant                                                           HIDALGO COUNTY, TEXAS


                     PLAINTIFF NARCISA TREVINO'S ORIGINAL PETITION


TO THE HONORABLE COURT:

          COMES NOW, NARCISA TREVINO (hereinafter referred to as Plaintiff) complaining

of COMMUNITY DEVELOPMENT INSTITUTE HEAD START, (hereinafter referred to as

the "Defendant" or the "Defendant employer") and for such causes of action would respectfully

show unto the Court and the Jury as follows:

                                                         I.
                                                  Discovery Level

          1.1       Discovery in this litigation is intended to be conducted under Level 3, Texas Rule

of Civil Procedure 190.

                                                        II.
                                                      Parties

          2.1       Plaintiff, NARCISA TREVINO, is an individual residing in Mission, Hidalgo

County, Texas.

          2.2       Defendant COMMUNITY DEVELOPMENT INSTITUTE HEAD START, is

an organization of social concern with its principal place of business, for the purposes of this action

in Donna, Texas and may be served by serving its registered agent as follows:




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                                                       CL-20-1230-B

                                            Corporation Service Company
                                             d/b/a CSC — Lawyers Inco
                                             211 E. 7th Street, Suite 620
                                                Austin, Texas 78701

          2.3       Service of citation is requested Via Certified Mail, Return Receipt Requested.

                                                           III.
                                                   Venue and Jurisdiction

          3.1       Venue is proper in Hidalgo County, Texas in that the incident made the basis of

this cause of action occurred in part in Hidalgo County, Texas.

                                                             IV.
                                                  Administrative Procedures

          4.1       Within 180 days of the occurrence of the acts complained of, Plaintiff filed her

initial complaint with the Texas Workforce Commission - Civil Rights Division, formerly known

as the Texas Commission on Human Rights alleging that the Defendant employers had committed

unlawful employment practices against the Plaintiff in violation of the Texas Commission on

Human Rights Act (sometimes hereinafter referred to as the "TCHRA"). The formal charge and

the "Notice of the Right to File A Civil Action Letter" were filed and received as follows:

          Formal Complaint Filed:                          May 2, 2019

          Notice of Right to File A
          Civil Action Letter Received:                    January 13, 2020

          4.2       On January 13, 2020, Plaintiff received from the Texas Workforce Commission -

Civil Rights Division, formerly known as the Texas Commission on Human Rights, Plaintiff's

Right to File A Civil Action letter allowing the Plaintiff to file this lawsuit within sixty days of its

receipt. Plaintiffs statutory claims have been filed within sixty days of its receipt. A copy of this

notice is attached as Exhibit "A" and is incorporated for all purposes by reference. Plaintiff further

invokes the relation back theory as well as any and all equitable doctrines necessary to satisfy the




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administrative requirements set forth by law. All conditions precedent to the filing of this lawsuit

and as required by law have been performed or have occurred.

                                                           V.
                                                  Factual Background

          5.1       On or about June 1, 2018, Plaintiff was initially employed by Community

Development Institute Head Start as a Center Supervisor. During her time of employment with

Defendant, she performed all her duties with dedication, hard work and undivided loyalty, earning

approximately $42,848.80 annually.

          5.2       On or about November 2018, Plaintiff received a phone call form Criselda Cuevas

Regional Administrator from Regional Office asking her to report to regional office, because they

had allegedly received an anonymous call from someone stating that Plaintiff and others were not

following the proper loading and unloading procedure. During the meeting Plaintiff learned that

Criselda Cuevas and Marianna Sanchez, Interim Education Manager had been surveilling Plaintiff

and her core staff from a distance away from the center by using their cars for four consecutive

days and accusing Plaintiff and her core staff with not properly assisting with the loading and

unloading of the children on and off the bus.

          5.3       As a supervisor, Plaintiff inquired with Ms. Cuevas regarding their concern, asking

her if they were very concerned for the safety of the children, why she or Marianna had not stopped

them on the very first day they learned of it rather than having waited until four days to bring it to

Plaintiff's attention. She responded stating that she wanted to see if Plaintiff and her staff were

really following the proper safety procedures. She stated, "Well you were not following it and your

core team was not assisting". During the meeting she threatened Plaintiff by stating to her that she

could not disclose who on staff made the anonymous call, because that could be considered

retaliation against that person. Plaintiff already knew that it was Jovita Cardoza, Education



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Specialist who had made that call. Plaintiff learned of it when another teacher went to her and

advised her. Plaintiff, however, knew she couldn't do anything about it because it could have been

taken as a form of retaliation against Ms. Cardoza.

          5.4      After the discussion had taken place, on or about November 26, 2018, Ms. Alecia

Jackson Lead Manager, Criselda Cuevas and Marianna Sanchez visited the center, and had a

meeting with Plaintiff and her core team. Mrs. Alecia took the lead at the meeting and stated why

they were having the meeting. She mentioned the anonymous call received, explaining to Plaintiff

and the team the importance of communication and everyone's participation during the proper

unloading and loading of the children on and off the bus.

          5.5      After the meeting, Mrs. Alecia, Mrs. Cuevas, Marianna met with Plaintiff in

Plaintiff's office, and mentioned to her that the person that did the anonymous call said that

Plaintiff was not communicating with her staff. She added that the caller stated the staff was afraid

to come into Plaintiff's office because they didn't feel comfortable talking to her. Plaintiff

explained to them how she, as a Center Supervisor, explained to her staff that her office door is

always open for them at all times. During this meeting they gave Plaintiff NPIN stating that she

was going to be placed in NPIN for three month and was going to end on February 2019.

         5.6       Before Plaintiff met with Mrs. Alecia, Mrs. Cuevas and Mariana, Plaintiff spoke

with Mrs. Alecia and mentioned to her on how Mrs. Cuevas and Marianna had been spying on her

and her staff for four consecutive days from a distance using their vehicles. Plaintiff further

mentioned to Mrs. Alecia how she felt after they had spied on her and her staff stating she felt

harassed by them and that it was an invasion of her space. Mrs. Alecia stated that what they did

was not right and that was how their culture was. After having just heard her comment regarding

our "culture", Plaintiff immediately felt uncomfortable/uneasy and wondered what real knowledge




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      she had about their "culture" when she is White/Caucasian. Plaintiff felt insulted throughout the

      meeting because she kept repeating herself stating that was how their "culture" was. After their

      conversation, it is still unclear if Mrs. Alecia spoke with Mrs. Cuevas or Marianna. After this,

      Mrs. Cuevas and Marianna when conducting site visits would always find something wrong at the

      center to bring to Plaintiff's attention. This was frequent and ongoing. Plaintiff believed that this

      frequent continuation was a form of discrimination/harassment/retaliation directed at her as the

      Center Supervisor.

                5.7       On or about December 2018, according to Mrs. Cuevas, a parent anonymously

      called the Regional Office complaining about the center staff not following the proper loading and

      unloading procedures. Mrs. Cuevas called Plaintiff to the center to inform her about the parent's

      concern, and they scheduled a visit to the center on January 7, 2019 to talk to the parents about the

      concern. A letter was sent to the parents so they could meet with them and discuss any concerns.

      On that day, Mrs. Alecia and Mrs. Cuevas were at the center waiting for parents to arrive for the

      meeting with them; however, no parents showed up to this meeting. Regional Office Manager

      Julissa Acosta, Marianna and Mrs. Cuevas met with the entire center staff to inform and remind

      us about the parent concerns. Plaintiff, as a Center Supervisor never found out what parent had

      made the complaint call. After the parent complaint, Julissa Acosta, the Education Manager, would

      come to the Center and monitor the loading and unloading procedures. Every time she would visit

      the center and monitor the loading and unloading, something wrong was always noted. The whole

      month of January, Julissa Acosta monitored us as part of the NPIN. However, every time she

      would do her site visit, she would find the same things wrong over and over again.

                5.8       On or about January 2019, Plaintiff requested to take January 16 — 24, 2019 off for

      vacation. On January 10, 2019, Plaintiff was advised by Criselda Cuevas, to make sure there




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would be enough classroom and office coverage during her time off and Julissa Acosta advised

that Plaintiff's requested time off had been approved. She requested that Plaintiff inform her team

at the center regarding Plaintiff's upcoming absence. The following day, Plaintiff was asked for

an action plan during her time away. Plaintiff advised that she had already prepared the staff

schedules for the time she would be away and revision of the calendar and that the staff had already

been informed. On January 14, 2019, Plaintiff received an email from Julissa Acosta stating that

her scheduled days out raised a concern stating there was a total of 6 staff members that would be

out. She was denying Plaintiffs days for January 18 — 22nd to ensure center operations ran

smoothly. She recommended that Plaintiff take two of her requested days on January 28 — 31st

due to small number of staff being out. Plaintiff reminded her that she and Ms. Cuevas, stated that

had approved Plaintiff's days off had also stated that they could not deny anyone's requested time

off. Regional office personnel were going to be brought in to cover for those staff members

scheduled to be out. Plaintiff mentioned to her that because her requested time had been approved,

she had already made her flight reservations. On a separate email dated January 14, 2019 at 4:32

pm, Ms. Acosta responded stating that if there was going to be a hardship on the center's

operations, the requested time off could be denied; however, she further stated that they would

come up with a plan to assure someone from regional office was available to cover during the days

off.

          5.9       During the month of February 2019, Mrs. Julissa Acosta continued performing

weekly site visits and would be focused on the same things citing us for the same things (loading

and unloading, classroom sign in & out, staff sign in & out, transportation paperwork). After Mrs.

Acosta's monitoring, she would meet with Plaintiff and informed her about her findings and/or

recommendations she had. After leaving Plaintiff the site visit report, Mrs. Acosta would meet




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with Plaintiff's staff and let them know about the findings. Since the findings were the same every

time, the staff was already tired of her repetitive findings. The staff was very discouraged by the

Education Manager, because as a team, they tried so hard to follow policies and procedures and

they would always ensure the children's safety. Parents had not expressed concerns or complaints.

The center was running smoothly, but according to the Education Manager staff would fail to

follow safety policies and procedures. This continued every week

          5.10 On or about February 14, 2019 Julissa Acosta, Education Manager sent Plaintiff an

email to report to the regional office, because she and Mrs. Cuevas needed to meet with her. During

this meeting they explained to Plaintiff that she was going to be placed on a Performance

Improvement Plan (PIP) and presented her the PIP. Plaintiff didn't appreciate that Mrs. Cuevas

mentioned to her that she was not ready to be a leader. Plaintiff immediately felt so uncomfortable

and unappreciated after having been working with the migrant head start program for twenty-five

years. Suddenly after twenty-five years, they were allegedly having communication problems. On

numerous occasions, Plaintiff was being told that they were not understanding what she was trying

to get across when communicating with them due to her accent. On the PIP plan presented to

Plaintiff, it indicated that there had been an ongoing concern in the lack of clear and open

communication between all staff. It referred to the Supervisory Log, however, the log was not

provided to Plaintiff for review. Plaintiff strongly believed that Julissa Acosta, Alecia Jackson

and Criselda Cuevas had worked together to create the PIP form and that the lack of "clear"

communication had to do with Plaintiff's accent and manner of speaking due to ger race (Hispanic)

and/or national origin (Mexican) because it had been brought up on previous occasions. According

to the PIP, Plaintiff failed to follow Productivity, Teamwork, Violation of Policies and Procedures,

Efficiency, Quality, Conduct. Mrs. Cuevas explained to Plaintiff that the PIP was going to be for




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30 days set to begin on February 15 through March 18, 2019 and the Education Manager Julissa

Acosta would be monitoring the center and meeting with Plaintiff one on one on a weekly basis

for thirty days. However, due to Ms. Acosta's attending training, they were unable to have their

one on one meetings.

          5.11 Because they didn't hold a meeting during that timeframe, Mrs. Acosta scheduled

one on February 26, 2019 and the other on February 28, 2019. During the one to one meeting, Ms.

Acosta explained to Plaintiff that according to PIP and action plans, Plaintiff failed to meet due

dates and other action plans. Plaintiff explained to Mrs. Acosta that she had emailed her the

information and that all due dates were completed on time; however, Mrs. Acosta still documented

that Plaintiff failed to comply with the PIP. On or about February 19, 2019, Plaintiff requested to

speak to Mrs. Alecia Jackson, CDI Site Manager. Plaintiff spoke to Mrs. Jackson letting her know

how she felt about the PIP and that she felt very intimidated by Mrs. Cuevas and Julissa. Plaintiff

explained to her, that she was not getting any support from her Education Manager Julissa and

Regional Program Director Ms. Cuevas, and always reminding Plaintiff about the consequences.

Plaintiff further stated how she was not giving the opportunity to comply with their job

performance requirements. Rather than assisting Plaintiff, they were always citing her with the

same things and micromanaging Plaintiff. Mrs. Alecia sent Plaintiff an email about their

conversation. Plaintiff wasn't sure if she mentioned their conversation to Ms. Cuevas or Julissa.

However, the micromanagement and the accusations became worse against Plaintiff.

          5.12 On or about March 1, 2019, Plaintiff received an email from Julissa Acosta

requesting that she report to regional office by 12:30pm, because she needed to meet with Plaintiff.

During their meeting, Mrs. Acosta presented Plaintiff with a training on how to download from

the CDI website instructing Plaintiff to sign her employee competencies. During that time, Plaintiff




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learned that Mrs. Cuevas and Alecia visited the center and spoke with some of the staff. Plaintiff

felt she had been set up and was removed from the center because they were going to talk to the

staff to make complaints against her. Mrs. Julissa Acosta, Plaintiff's Immediate Supervisor told

Plaintiff that she and Mrs. Cuevas needed to speak to her. Also present at the meeting via

telephone, were Mrs. Alecia and a lady named Brenda. Ms. Brenda explained to Plaintiff the

reason they were meeting was due to a staff member(s) having called to the Office of Head Start

complaining about Plaintiff The complaint was that Plaintiff would favor some teaching staff by

scheduling them on buses only in the afternoons and not in the mornings. They also mentioned

that during one of their last staff meetings, staff mentioned that they were frustrated and tired of

Julissa, the Education Manager coming to the center and continuously citing them for repeated

offenses. They claimed they had said they were going to write a letter against Julissa and that

Plaintiff remained quiet. She explained to Ms. Brenda how the teaching staff came and talked to

her about them not being able to do the morning bus route and that if Plaintiff could work with

their schedule. Plaintiff explained to her that she had staff stating how they preferred to cover the

morning route instead of the afternoon. Plaintiff further explained to her that the staff had

mentioned the letter; however, Plaintiff explained to them that they couldn't do that. Therefore,

they needed to work together and just continue working as a team. They asked Plaintiff to step out

of the office. Plaintiff was called back in after five minutes. After Plaintiffs return, Mrs. Cuevas

and Julissa told Plaintiff that she was going to be out on administrative leave for the week of March

4, 2019 and to report back to the regional office on March 8, 2019. Plaintiff received a call on

March 8, 2019 from Mrs. Cuevas and Julissa letting her know that as per Mrs. Alecia Jackson's

recommendation, Plaintiff was being terminated.




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          5.13 On or         about March 8, 2019, Plaintiff was unlawfully terminated by a member of

Defendant's management. Plaintiff alleges that there was no legitimate business justification for

her termination in that the Plaintiff had always performed a satisfactory job for the Defendant

employer during her employment and that there was work available and there continues to be work

available which Plaintiff could perform. Plaintiff further asserts and intends to prove that the

mistreatment received by her including, but not limited to, harassment, hostile work environment,

age (48 DOB: 05/06/1970), race (Hispanic), national origin (Mexican) discrimination, retaliation,

among other illegal workplace activity.

                                                      VI.
                     Causes of Action - Section 21.051 Discrimination by Employer

A.        Violations of the Texas Commission on Human Rights Act and the Age
          Discrimination in Employment Act.
          6.1       Plaintiff re-alleges the allegations contained in Section V, entitled Factual

Background.

          6.2       Plaintiff alleges that she was discriminated against due to her race (Hispanic),

national origin (Mexican), and age (48, DOB: 05/06/1970).

          6.3       On or about March 8, 2019, Plaintiff was unlawfully terminated/constructively

discharged by a member of Defendant's management due to discriminatory reasons and due to the

culmination of discriminatory conduct directed against her by the Defendant.

          6.4       Plaintiff asserts that a motivating or determining factor in her unlawful termination

was because she was discriminated against in violation of the Texas Commission on Human Rights

Act (hereinafter the "TCHRA") on account of her race (Hispanic), national origin (Mexican) and

age (48, DOB: 05/06/1970).




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          6.5       The Defendant, its agents, servants, and employees discharged or in some other

manner discriminated against Plaintiff on account of her race (Hispanic), national origin (Mexican)

and age (48, DOB: 05/06/1970).As such, Plaintiff, falls within a protected class under the Texas

Commission on Human Rights Act ("TCHRA" or "the Act').

The Texas Commission on Human Rights Act provides as follows:

          Section 21.051 Discrimination by Employer:

        An employer commits an unlawful employment practice if because of race, color,
disability, religion, sex, national origin, or age, the employer:

          1.        Fails or refuses to hire an individual, discharges an individual, or discriminates
                    in any other manner against the individual in connection with compensation or
                    the terms, conditions, or privileges of employment; or

          2.        Limits, segregates or classifies an employee or applicant for employment in a
                    manner that would deprive or tend to deprive an individual of any employment
                    opportunity or adversely affect in any other manner the status of the employee.

(Vernon's 2013)(Emphasis added).

          6.6       Further, Plaintiff alleges that the wrongful termination by the Defendant employer

was a form of retaliation because of her complaints of discrimination and wrongful termination.

Such actions are prohibited by an employer as follows:

          Section 21.055, Retaliation
          An employer, labor union or employment agency commits an unlawful employment

practice if the employer, labor union or employment agency retaliates or discriminates against a

person who, under this Chapter:

                    1.        Opposes discriminatory practice;
                    2.        Makes or files a charge;
                    3.        Files a complaint; or
                    4.        Testifies, assists or participates in any manner in an investigation,
                              proceeding or hearing.




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                    (Vernon's 20 13)(Emphasis added).

          6.7       As a result of the discriminatory treatment, her ultimate termination and/or the acts

described herein, Plaintiff has suffered damages as further alleged in this Petition.

                                                       VII.
                                                  Actual Damages

          7.1       As a result of the incident made the basis of this suit, Plaintiff has incurred damages

in the following respects:

          A.        Lost Earnings and Special Damages

          7.2       At the time of the incident complained of, Plaintiff was gainfully employed. As a

proximate result of the wrongful conduct and corresponding acts of the Defendant employer,

Plaintiff was unable to attend to her occupation and thereby suffered a loss of income for which

she hereby sues. As a result of the wrongful conduct and corresponding acts of the Defendant

employer, the Plaintiff's earnings, retirement and capacity to earn a livelihood were severely

impaired. In all reasonable probability, the Plaintiff's loss of earnings and loss of earning capacity

will continue long into the future, if not for the balance of the Plaintiff's natural life. Plaintiff

therefore sues for any lost earnings in the form of back pay, lost wages, front pay, retirement

benefits, and fringe benefits, lost future earnings and/or diminished earning capacity to the extent

permitted by law due to the acts complained of above.

          B.        Past and Future Mental Anguish

          7.3       As a result of the incident described above, that is made the basis of this suit,

Plaintiff has suffered physical injuries, sickness and/or illness as well as emotional distress, loss

of enjoyment of life, mental anguish and other hedonic damages. The Plaintiff has suffered

feelings of anxiety, worthlessness, embarrassment, and inferiority. The Plaintiff has further

suffered ill-health effects including, but not limited to, agitation, restlessness, sleeplessness,



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depression and/or loss of self-esteem due to the discriminatory treatment and/or her illegal

termination or wrongful discharge. In all reasonable probability, Plaintiff will continue to suffer

such physical injuries, sickness and/or illness as well as emotional distress, loss of enjoyment of

life, mental anguish and other hedonic damages for a long time into the future, if not for the balance

of her natural life.

                                                         VIII.
                                                    Attorney's Fees

          8.1       By reason of the allegations of this petition and should Plaintiff be designated the

"prevailing party", Plaintiff is entitled to recover attorney's fees in a sum that is reasonable and

necessary. In this connection, Plaintiff will show that she has employed the undersigned attorney

to assist her in the prosecution of this action. Plaintiff further seeks an upward adjustment or

enhancement to the lodestar amount of attorney's fees to be determined in the prosecution of this

lawsuit. A reasonable attorney's fee is further requested for the work expended in the preparation

and trial of this cause along with a reasonable fee for any and all appeals to other courts. If

ultimately successful in this case, plaintiff fully expects that the defendant employer will appeal

this case. Plaintiff seeks attorney's fees to compensate the plaintiff for the attorney's fees she has

and will incur in the prosecution of this lawsuit, both at trial and on appeal. Plaintiff further pleads

for the recovery of reasonable and necessary expenses for the use of associate counsel, paralegals

and/or law clerks that assist in the prosecution of the case. As permitted, Plaintiff also seeks to re-

coup all litigation expenses expended in the prosecution of this lawsuit.

                                                         IX.
                                                  Exemplary Damages

          9.1       The conduct of the Defendant, as set out above, was carried out and constituted

such an entire want of care as to constitute a conscious indifference to the rights or welfare of the




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Plaintiff. Because of the spite,                     malicious and/or fraudulent intent held by the Defendant's

management toward the Plaintiff, such management, acting in a willful and intentional manner,

committed certain acts calculated to cause injury and/or damage to the Plaintiff. Accordingly, the

Defendant acted with malice, actual malice and/or a specific intent to injure the Plaintiff. Plaintiff

is hereby entitled to recover exemplary or punitive damages to deter such cruel and undignified

procedures by the Defendant and their management in the future. Accordingly, Plaintiff requests

that punitive damages be awarded against the Defendant as a result of its egregious violations of

the law.

                                                            X.
                                                  Demand for Trial by Jury

          10.1 Plaintiff; by and through her attorney of record and pursuant to Rule 216 of the

Texas Rules of Civil Procedure makes and files this Demand for Trial by Jury in the above styled

and numbered cause. Contemporaneously with the filing of this jury demand, Plaintiff has

deposited the required jury fee ($40.00) with the County Clerk of Hidalgo County, Texas. Plaintiff

requests that this case be set on the jury docket of the court for disposition in due order and as soon

as practicable.

          WHEREFORE, Plaintiff; NARCISA TREVINO prays that this Honorable Court grant

the following:

          (1)       Judgment against the Defendant employer, COMMUNITY DEVELOPMENT
                    INSTITUTE HEAD START;
          (2)       Attorney's fees;
          (3)       Pre judgment interest allowed by law;
          (4)       Interest on said judgment at the legal rate from the date of judgment;
          (5)       For costs of suit herein; and
          (6)       For such other and further relief at law or in equity to which the Plaintiff may
                    show herself justly entitled to receive and for which she shall forever pray.




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                                                  CL-20-1230-B

                                                                 Respectfully submitted,

                                                                 THE LAW OFFICES OF
                                                                 CINDY A. GARCIA, P.C.
                                                                 200 N. 12th Ave., Suite 102
                                                                 Edinburg, Texas 78541-3503
                                                                 Telephone: (956) 412-7055
                                                                 Facsimile: (956) 412-7105
                                                                 thcprcialawfirm@gmail.com
                                                                 china.garcialawggmail.com

                                                                 By: /s/cindy a. garcia
                                                                 Cindy A. Garcia
                                                                 State Bar No. 07631710

                                                                 ATTORNEY FOR PLAINTIFF
                                                                 NARCISA TREVINO




TREVINO, Narcisa: Plaintiff's Original Petition                                                Page j 15
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                 EXHIBIT
                            46A99



Notice of Dismissal & Right to
       File Civil Action




                             Narcisa Trevino
                                     v.
                         Community Development
                           Institute Head Start
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DocuSign Envelope ID: 420E456A-D18F-4329-9137-4A23FF3B2388




    Narcisa Trevino
    P. 0 Box 1647
    Progreso, TX 78579


                           NOTICE OF DISMISSAL AND RIGHT TO FILE CIVIL ACTION

                        Narcisa Trevino v. COMMUNITY DEVELOPMENT INSTITUTE HEAD START

               TWCCRD Charge No.                                                                  EEOC Charge No.                                                   TWCCRD Representative:
                   IA19798                                                                         31C-2019-00902                                                      Lynda G. Pringle


   The Civil Rights Division has dismissed this Charge and is closing its file for the following reason:

    [1               The facts alleged in the charge fail to state a claim under any of the statutes enforced by the TWCCRD.

                     Your allegations did not involve a disability that is covered by the Americans with Disabilities Act or
                     the Texas Labor Code, Chapter 21.

                    The Respondent employs less than the required number of employees or not otherwise covered by the
                    statutes.

                     We cannot investigate your charge because it was not filed within the time limits required by law.

                    Having been given 30 days in which to respond, you failed to provide information, failed to appear or
                    be available for interviews/conferences, or otherwise failed to cooperate to the extent that it was not
                    possible to resolve your charge.

                    While reasonable efforts were made to locate you, we were not able to do so.

                    You had 30 days to accept a reasonable settlement offer that afforded full relief for the harm you
                    alleged. You failed to accept the full relief.

    [ 1             The TWCCRD issues the following determination: Based upon its investigation, the TWCCRD is
                    unable to conclude that the information obtained establishes any violations of the statutes. This does
                    not certify that the respondent is in compliance with the statutes. No finding is made as to any other
                    issues that might be construed as having been raised by this charge.

    [X]             Other: Notice of Right to File Civil Action




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          Narcisa Trevino v. COMMUNITY DEVELOPMENT INSTITUTE HEAD START
          TWCCRD Charge No: IA19798
          EEOC Charge No. 31C-2019-00902




                                      NOTICE OF RIGHT TO FILE CIVIL ACTION

         Pursuant to Sections 21.208, 21.252 and 21.254 of the Texas Labor Code, as amended, this notice is to
         advise you of your right to bring a private civil action in state court in the above referenced case.
         PLEASE BE ADVISED THAT YOU HAVE SIXTY (60) DAYS FROM THE RECEIPT OF THIS
         NOTICE TO FILE THIS CIVIL ACTION. The time limit for filing suit based on a federal claim
         may be different.


                                                  EEOC REVIEW NOTICE:

         As your charge was dual filed under Title VII of the Civil Rights Act/Age Discrimination in
         Employment Act/Americans with Disabilities Act, which are enforced by the U.S. Equal Employment
         Opportunity Commission (EEOC), you have the right to request an EEOC review of this final decision
         on your case. To secure a review, you must request it in writing within fifteen (IS) days from the
         date of the notice. Send your request to: San Antonio EEOC, 5410 Fredericksburg Road. Suite 20


                                        On behalf of the Division

                                                                             1 / 7 /a0a.,
                                        Bryan Snoddy                        Date
                                        Division Director

   cc:

   Brenda Jordahl
   COMMUNITY DEVELOPMENT INSTITUTE HEAD START
   10065 E. Harvard Avenue, Ste. 700
   Denver, CO 80231

   Cindy A. Garcia
   GARCIA LAW GROUP
   1113 Nightingale Avenue
   McAllen, TX 78504
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Electronic Record and Signature Disclosure
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Certificate Of Completion
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Document Pages: 4                               Signatures: 0                            Envelope Originator:
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        1/13/2020 1:41:40 PM                             wendy.catalan@twc.state.tx.us

Signer EventS                                   Signature                                Timestamp

In Person Signer Events                         Signature                                TimeStarnp

Editor Delivery Events                          Status                                   Timestamp

Agent Delivery Events                           Status                                   Timestamp

Intermediary Delivery Events                    Status                                   Timestamp

Certified Delivery Events                       Status                                   Timestamp
Cindy A. Garcia                                                                          Sent: 1/13/2020 1:43:25 PM
thegarcialawfirm@gmail.com                          VIEWED                               Viewed: 1/13/2020 2:26:51 PM
Security Level: Email, Account Authentication
(None)
                                                Using IP Address: 67.78.121.34


Electronic Record and Signature Disclosure:
   Accepted: 11/9/2018 11:34:13 AM
   ID: 8bc375fb-dbb7-4683-9fa0-0817ce7a8f2f


Carbon Copy Events                              Status                                   Timestamp
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bjordahl@cditeam.org                                   COPIED
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Electronic Record and Signature Disclosure:
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Witness Events                                  Signature                                Timestamp

Notary Events                                   Signature                                Timestamp

Envelope Summary Events                         Status                                   Timestamps
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Certified Delivered                             Security Checked                         1/13/2020 2:26:51 PM
Completed                                       Security Checked                         1/13/2020 2:26:51 PM
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